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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                Plaintiffs,          )
                                     )                4:06CR3016
           v.                        )
                                     )
ARMANDO GARCIA-DELACRUZ,             )
                                     )                   ORDER
                Defendant.           )
                                     )



     IT IS ORDERED:

     Defendant’s Motion for Appointment of Alternative Counsel,
filing 41, is denied because no reason is given other than that
defendant prefers to have other counsel. That is not good cause
to remove present counsel.

     DATED this 20th day of September, 2006.

                                    BY THE COURT:


                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
